       Case: 1:18-op-46326-DAP Doc #: 27 Filed: 03/15/19 1 of 5. PageID #: 843
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        EXHIBIT “A” TO ORDER SETTING PROCEDURE FOR SHORT FORM AMENDMENT OF
        COMPLAINTS AND INCORPORATION BY REFERENCE OF MATERIALS UNDER SEAL




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                     )   MDL 2804
    OPIATE LITIGATION                                )
                                                     )   Case No. 1:17-md-2804
    THIS DOCUMENT RELATES TO:                        )
                                                     )   Judge Dan Aaron Polster
    All Cases Not Designated In                      )
    Paragraphs 2 or 3 of CMO-1                       )   SHORT FORM FOR
                                                     )   SUPPLEMENTING COMPLAINT AND
                                                     )   AMENDING DEFENDANTS AND
                                                     )   JURY DEMAND



         Plaintiff submits this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in the Corrected Second Amended

Complaint and Jury Demand in the case of The County of Summit, Ohio, et al., v. Purdue Pharma

L.P., et al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National Prescription

Opiate Litigation, in the United States District Court for the Northern District of Ohio,

Doc. ##: 513, 514,1 and as may be amended in the future, and any additional claims asserted herein.

Plaintiff also hereby amends its complaint to alter the defendants against which claims are asserted

as identified below. To the extent defendants were previously sued in plaintiff(s)’ existing

complaint and they are no longer identified as defendants herein, they have been dismissed without

prejudice except as limited by CMO-1, Section 6(e). Doc. #: 232.



1
 Docket #: 513 is the redacted Summit Second Amended Complaint and Docket #: 514 is the unredacted Summit
Corrected Second Amended Complaint filed under seal in Case No. 1:17-md-02804-DAP. The redacted Summit
Corrected Second Amended Complaint is also filed in its individual docket, Case No. 1:18-op-45090-DAP,
Docket #: 24.
    Case: 1:18-op-46326-DAP Doc #: 27 Filed: 03/15/19 2 of 5. PageID #: 844
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      EXHIBIT “A” TO ORDER SETTING PROCEDURE FOR SHORT FORM AMENDMENT OF
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             INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       1.      Plaintiff(s)’ Existing Complaint (No. ___-!"-___,
                                                      1:18   46326 Doc. #: 3__) is expressly

incorporated by reference to this Short Form as if fully set forth herein except to the extent that

allegations regarding certain defendants that are not listed in section 2 below are dismissed without

prejudice.

                                  PARTIES – DEFENDANTS

        2.     Having reviewed the relevant ARCOS data, Plaintiff asserts claims against the

following Defendants:

[List all Defendants against which claims are asserted. To the extent a claim is not asserted against
a particular defendant, so indicate below. Otherwise each claim will be deemed to be asserted
against all Defendants (except for the RICO claims identified below). If Defendants have not been
sued previously in Plaintiff(s)’ Existing Complaint, Plaintiff must include separate factual
allegations below in support of each new defendant and must separately serve each newly named
Defendant with notification of the specific ARCOS data that Plaintiffs claim supports the addition
of this Defendant pursuant to the Court’s Order Setting Procedure for Short Form Amendment of
Complaints and Incorporation by Reference of Materials Under Seal]
McKesson Corporation; Amerisourcebergen Drug Corporation; Cardinal Health, Inc.;
Walgreen Co.; Kroger Limited Partnership I; Kroger Limited Partnership II; Jane Does
1-50. Please see Attachment A for jurisdictional allegations.

           Lisa Saltzburg
       I, _________________,     Counsel for Plaintiff(s), certify that in identifying all
Defendants, I have followed the procedure approved by the Court and reviewed the ARCOS
data that I understand to be relevant to Plaintiff(s).
      I further certify that, except as set forth below, each of the Defendant(s) newly
added herein appears in the ARCOS data I reviewed.
       I understand that for each newly added Defendant not appearing in the ARCOS
data I must set forth below factual allegations sufficient to state a claim against any such
newly named Defendant that does not appear in the ARCOS data.




                                                  2
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     EXHIBIT “A” TO ORDER SETTING PROCEDURE FOR SHORT FORM AMENDMENT OF
     COMPLAINTS AND INCORPORATION BY REFERENCE OF MATERIALS UNDER SEAL

      The following newly added Defendant(s) do not appear in the ARCOS data I
reviewed:




Dated:   3/14/19                         Signed:   Lisa Saltzburg

Factual Allegations Regarding Individual Defendants
         2.1
         2.2
                               COMMON FACTUAL ALLEGATIONS

         3.        By checking the boxes in this section, Plaintiff hereby incorporates by reference to

this document the common factual allegations set forth in the Summit County Pleadings as

identified in the Court’s Order implementing the Short Form procedure. Doc. #: ____.  514, 1282




   "
   V Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)

   " RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)

   " RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)

         4.        If additional claims are alleged below that were not pled in Plaintiff’s Existing

Complaint (other than the RICO claims asserted herein), the facts supporting those allegations

must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)

identified in Paragraph 6 below (below or attached):




                                                CLAIMS

         5.        The following federal RICO causes of action asserted in the Summit County

Pleadings as identified in the Court’s implementing order and any subsequent amendments,

                                                    3
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      EXHIBIT “A” TO ORDER SETTING PROCEDURE FOR SHORT FORM AMENDMENT OF
      COMPLAINTS AND INCORPORATION BY REFERENCE OF MATERIALS UNDER SEAL

Doc. #: _____, are incorporated in this Short Form by reference, in addition to the causes of action

already asserted in the Plaintiff(s)’s Existing Complaint (check all that apply):

   " First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

   " Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
   Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
   (Summit County Pleadings, Paragraphs 906-938)
         6.        Plaintiff asserts the following additional claims as indicated (below or attached):

The County is filing this "Short Form" consistent with the MDL court's orders and without
prejudice to the County's right to continue to pursue remand of this case to state court.
The County expressly maintains that there is no basis for federal jurisdiction over this
matter.

         7.        To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in

Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without

prejudice.




         WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern

District of Ohio, MDL No. 2804 and in Plaintiff’s Existing Complaint as has been amended herein.


Dated:   3/14/19                                 Lisa Saltzburg

                                                                  Attorney for Plaintiff(s)




                                                    4
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 Attachment A – to Short Form For Supplementing Complaint and Amending Defendants
  and Jury Demand (“Short Form”) (Montgomery County, OH Case No. 1:18-op-46326)


Short Form Paragraph 2 Cont.:
Jurisdictional Allegations:
       This Court lacks subject matter jurisdiction over, and this is not the right venue for, this

action for the reasons explained in the County’s Motion to Remand.

       This Court has personal jurisdiction over all Defendants under R.C. 2307.382 because the

causes of action alleged in this Complaint arise out of each Defendants’ transacting business in

Ohio, contracting to supply services or goods in this state, causing tortious injury by an act or

omission in this state, and because the Defendants regularly do or solicit business or engage in a

persistent course of conduct or deriving substantial revenue from goods used or consumed or

services rendered in this state. Defendants have purposefully directed their actions towards Ohio

and/or have the requisite minimum contacts with Ohio to satisfy any statutory or constitutional

requirements for personal jurisdiction.

       The venue for this claim is proper in the Court of Common Pleas of Montgomery County

under Ohio Civ. R. 3(B)(3), (6), and (7).

Allegations Specific to Defendants Appearing the in the ARCOS Data:

       Kroger Limited Partnership I is an Ohio corporation with its principal place of business in

Cincinnati, Ohio.

       Kroger Limited Partnership II is an Ohio corporation with its principal place of business in

Columbus, Ohio.




                                                1
